                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


EIGHT MILE STYLE, LLC and                         )
MARTIN AFFILIATED, LLC,                           )
                                                  )
Plaintiffs,                                       )
                                                  )
v.                                                )           Case No. 3:19-cv-0736
                                                  )           Judge Aleta A. Trauger
SPOTIFY USA INC. and                              )
HARRY FOX AGENCY, LLC,                            )
                                                  )
Defendants.                                       )
                                                  )
                                                  )
SPOTIFY USA INC.,                                 )
                                                  )
Third-Party Plaintiff,                            )
                                                  )
v.                                                )
                                                  )
KOBALT MUSIC PUBLISHING                           )
AMERICA, INC.,                                    )
                                                  )
Third-Party Defendant                             )

                                 MEMORANDUM & ORDER

        Spotify USA Inc. (“Spotify”) has filed a Motion for Leave to File Early Motion for

Summary Judgment Against Kobalt Music Publishing America, Inc. (“Kobalt”) (Doc. No. 265),

to which Kobalt has filed a Response (Doc. No. 272). Plaintiffs Eight Mile Style, LLC and Martin

Affiliated, LLC have also filed a Response in opposition to the motion (Doc. No. 273), and Spotify

has filed a Reply (Doc. No. 277). For the reasons set out herein, the motion will be denied.

        Spotify wishes to seek summary judgment on the issue of whether Kobalt has a contractual

right to indemnify it in this litigation. Spotify argues that an early resolution of that issue would

remove uncertainty and potentially speed the resolution of this case, which may well be true.




     Case 3:19-cv-00736 Document 278 Filed 09/07/22 Page 1 of 4 PageID #: 3685
Kobalt, however, argues that addressing the issue of indemnity now would be premature,

particularly in light of the fact that there has, at this point, been no expert discovery.

        On December 15, 2016, Spotify and Kobalt entered into a Mechanical License Agreement,

through which Kobalt granted Spotify “a non-exclusive, . . . irrevocable license throughout the

[United States] to . . . reproduce and distribute” certain compositions identified as the “Publisher

Compositions,” “as embodied in sound recordings on servers owned or controlled by Spotify.”

(Doc. No. 265-1 at 2.) The “Publisher Compositions” were defined to refer to “the Compositions

or portions thereof that [Kobalt], whether [when the Agreement was formed] or during the Term

[of the Agreement], own[ed], control[ed], or administer[ed].” (Id.) As part of the Agreement,

Spotify “acknowledge[d] that [Kobalt was] licensing only its administered share of a Publisher

Composition and [was] not granting a license as to any non-Publisher controlled share of a

Publisher Composition (i.e., [Kobalt was] not granting a so-called ‘100% license’).” (Id.)

        As part of the Agreement, however, Spotify and Kobalt each made certain representations

and warranties. As relevant to the current dispute between the parties, Kobalt represented as

follows:

        Publisher further represents and warrants to Spotify that (i) it has the right and
        authority to grant the rights to Spotify in this Agreement; (ii) Spotify’s Use of the
        Publisher Compositions in accordance with the terms and conditions of this
        Agreement will not infringe any third party’s proprietary or intellectual property
        rights and; (iii) except for payments made to third parties administering the public
        performance right and the applicable sound recording rights holders associated with
        the Publisher Compositions, no other payments, licenses, rights, authorities or
        permissions are necessary for Spotify to Use the Publisher Compositions.

(Id. at 7–8 (emphasis added).) The representations and warranties were followed by an

indemnification provision stating, in relevant part:

        Each Party (the ‘Indemnifying Party’) will indemnify and hold the other Party (the
        ‘Indemnified Party’) harmless from any and all third party claims, damages,
        liabilities, costs and expenses (including reasonable legal expenses and counsel

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   Case 3:19-cv-00736 Document 278 Filed 09/07/22 Page 2 of 4 PageID #: 3686
        fees) (‘Claims’) relating to any allegation, that, if true, would constitute a breach of
        the Indemnifying Party’s representations, warranties, or covenants in [the
        preceding section of] this Agreement.

(Id. at 8.)

        Spotify now stands accused of infringing upon compositions that, it maintains, it thought

were covered by the Agreement. Kobalt states that it did not have any right to license those

compositions in the first place and that the compositions were therefore not “Publisher

Compositions.” Spotify responds that it does not matter whether Kobalt had the right to license the

compositions, because the definition of “Publisher Compositions” included all compositions that

Kobalt “administered,” even if it did not license them. Spotify states that it can show, through

undisputed evidence, that Kobalt exercised some rights with regard to the underlying

compositions—such as the right to collect royalties—which, Spotify argues, brings those

compositions within the ambit of the agreement.

        The legal core of this disagreement appears to be the construction of the words “control”

and “administer,” as used in the context of a mechanical license to a streaming service in 2016. As

the court has noted during its consideration of other matters in this litigation, all of the underlying

transactions and events at issue occurred against the unique backdrop of the music publishing

industry, with its preexisting norms, customs, and terminology, which can be opaque to outsiders

unversed in industry practice. The definitions of “control” and “administer,” in this context, plainly

implicate the need for that kind of industry-specific understanding. The court, moreover, is

inclined to agree with Kobalt that expert testimony is likely to be the clearest, most comprehensive

way for a finder of fact to cut through the thicket of highly specialized knowledge that frames this

dispute.




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   Case 3:19-cv-00736 Document 278 Filed 09/07/22 Page 3 of 4 PageID #: 3687
        Spotify points to various snippets of evidence already uncovered that, it argues, show that

the definition of “administer” is widely accepted within the industry to include the type of work

that Kobalt allegedly performed with regard to the relevant compositions. It is, however, common

for individual witnesses, and even attorneys, to perceive a term as unambiguous in one setting,

only for a glaring ambiguity to arise in another. Moreover, witnesses are often simply wrong in

their overconfident pronouncements of their own understanding. That does not mean that the

evidence that Spotify has identified is irrelevant, but relevance is not what is at issue here. In order

to justify an early motion for summary judgment, the evidence already available would have to be

so independently sufficient that no further discovery—even expert discovery that would plainly

be well-suited to the specific question at issue—is necessary. The court, however, cannot conclude

that Spotify has cleared that bar.

        As Spotify has pointed out, there are obvious reasons why Kobalt itself might wish to

know, sooner rather than later, whether it should expect to be liable for indemnification in this

case. The decision to contest an early resolution of that question is, however, Kobalt’s to make,

and Kobalt has identified persuasive grounds for permitting it to develop the record further before

the court makes a ruling. Spotify’s Motion for Leave to File Early Motion for Summary Judgment

Against Kobalt (Doc. No. 265) is therefore DENIED.

        It is so ORDERED.

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                                                                ALETA A. TRAUGER
                                                                United States District Judge




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   Case 3:19-cv-00736 Document 278 Filed 09/07/22 Page 4 of 4 PageID #: 3688
